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      TC RICH, LLC, Rifle Freight, Inc., Fleischer
   13 Customs Brokers, Richard G. Fleischer, and
   14 Jacqueline Fleischer
   15
                                UNITED STATES DISTRICT COURT
   16
                              CENTRAL DISTRICT OF CALIFORNIA
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   18 TC RICH, LLC, a California Limited       Case No.: 2:19-CV-02123-DMG-AGR
      Liability Company, RIFLE FREIGHT,
   19 INC., a California corporation,          NOTICE OF LODGING OF
      FLEISCHER CUSTOMS BROKERS, a             PLAINTIFFS’ [PROPOSED] ORDER
   20 sole proprietorship, RICHARD G.          DENYING SHAIKH’S MOTION FOR
      FLEISCHER, an individual, and            PARTIAL SUMMARY JUDGMENT
   21 JACQUELINE FLEISCHER, an                 AGAINST PLAINTIFFS
      individual,
   22
                   Plaintiffs,
   23                                          Courtroom: 8C
             v.                                Judge: Hon. Dolly M. Gee
   24 HUSSAIN M. SHAIKH, an individual,        Date: February 19, 2021
      HAROON KHAN, an individual, and          Time: 3:00 p.m.
   25 SHAH CHEMICAL CORPORATION, a
      California Corporation.
   26
                   Defendants.                 First Amended Complaint: 06/04/2019
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   28
        TC RICH v. Shaikh, et al.                             NOTICE OF LODGING


                                                                          4811-2132-2970.v1
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    1          TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
    2 RECORD HEREIN:
    3          PLEASE TAKE NOTICE that Plaintiffs TC Rich, LLC (“TC Rich”), Rifle
    4 Freight, Inc., Fleischer Customs Brokers, Richard G. Fleischer, and Jacqueline
    5 Fleischer (collectively, “Plaintiffs”) hereby lodge the attached [Proposed] Order
    6 Denying Shaikh’s Motion for Partial Summary Judgment against Plaintiffs.
    7
    8 Dated: February 2, 2021
    9                               PILLSBURY WINTHROP SHAW PITTMAN LLP

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                                    By:   /s/ Mark E. Elliott
   11
                                           MARK E. ELLIOTT
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   13                                     Attorneys for Plaintiffs
                                          TC RICH, LLC, Rifle Freight, Inc., Fleischer
   14                                     Customs Brokers, Richard G. Fleischer, and
   15                                     Jacqueline Fleischer

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        TC RICH v. Shaikh, et al.            1                  NOTICE OF LODGING


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